Case 2:10-cr-20014-DPH-VMM ECF No. 569, PageID.2379 Filed 04/23/13 Page 1 of 5




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                        Plaintiff,

 V.                                                                    Case No. 10-CR-20014
                                                                       Honorable Denise Page Hood
 RICHARD SHANNON D15,

                        Defendant.

                                                        /

      ORDER DENYING MOTION FOR JUDGMENT OF ACQUITTAL OR, IN THE
                    ALTERNATIVE, FOR A NEW TRIAL

        On October 26, 2012, a jury found Defendant Richard Shannon guilty of one count of

 conspiracy to commit health care fraud in violation of 18 U.S.C. § 1349. Defendant now moves for

 a judgment of acquittal or, in the alternative, for a new trial. For the reasons stated in more detail

 below, Defendant’s motion for judgment of acquittal or, in the alternative, for a new trial is

 DENIED.

                                                   I.

        Pursuant to Federal Rule of Criminal Procedure 29(c)(2), the Court may set aside a verdict

 and enter a judgment of acquittal. Defendant challenges the sufficiency of the evidence before the

 Court. “A defendant claiming ‘insufficiency of the evidence bears a very heavy burden.” United

 States v. Wright, 16 F.3d 1429, 1439 (6th Cir. 1994) (quoting United States v. Vannerson, 786 F.2d

 221, 225 (6th Cir. 1986). The question before the Court is “whether, after viewing the evidence in

 the light most favorable to the prosecution, any rational trier of fact could have found the essential

 elements of the crime beyond a reasonable doubt.” Jackson v. Virginia, 443 U.S. 307, 319 (1978)

 (citing Johnson v. Virginia, 406 U.S. 356, 362 (1972)) (emphasis in original). “The government
Case 2:10-cr-20014-DPH-VMM ECF No. 569, PageID.2380 Filed 04/23/13 Page 2 of 5




 may meet its burden through circumstantial evidence alone, and such evidence need not exclude

 every possible hypothesis except that of guilt.” United States v. Jackson, 55 F.3d 1219, 1225 (6th

 Cir. 1995). In considering the Rule 29 motion, the Court cannot “weigh the evidence, assess the

 credibility of the witnesses, or substitute [its] judgment for that of the jury.” Wright, 16 F.3d at

 1440. Further, the Court must draw all reasonable inferences in favor of the jury verdict. United

 States v. Conatser, 514 F.3d 508, 518 (6th Cir. 2008).

                                                 II.

        A.      Insufficient Evidence

        First, Defendant argues that various links in the chain were missing to prove beyond a

 reasonable doubt that Defendant “knowingly and willfully” joined the conspiracy to commit health

 care fraud at All American and Patient Choice. Unsurprisingly, the Government disagrees. The

 Government highlights the following pieces of evidence:

        •       Special Agent Mark Krieg testified to the following statements made by Defendant

                during proffer sessions with the government: Defendant agreed to recruit patients for

                Patient Choice and All American; Defendant paid patients to enroll in home health

                care at Patient Choice and All American; Defendant told co-conspirators Hassan

                Akhtar and Muhammad Shahab that he paid patients and received money from

                Ahktar and Shahab in order to pay patients to enroll in home health care; and

                Defendant knew that patients were not receiving services.

        •       Shahab testified that he saw Defendant paying a beneficiary to sign home health care

                forms and that Shahab paid Defendant a set rate per patient. Shahab further testified




                                                       2
Case 2:10-cr-20014-DPH-VMM ECF No. 569, PageID.2381 Filed 04/23/13 Page 3 of 5




                that Defendant asked for a rate increase because other recruiters were paying patients

                more money.

        •       A Medicare beneficiary testified that Defendant offered to pay individuals at her

                apartment complex in exchange for signing up for home health care and that

                Defendant agreed to pay her $100 to sign blank All American physical therapy

                revisit notes. The beneficiary was paid $100 and never received physical therapy

                services as indicated in the revisit notes.

        •       A second beneficiary testified to seeing Defendant at the apartment of a separate

                recruiter. Defendant was accompanied by several beneficiaries who were signing

                blank revisit notes. He further testified to seeing Defendant at a Detroit homeless

                shelter offering to pay beneficiaries to see a physician.

        Considering all the evidence in the light most favorable to the Government, a reasonable

 juror could have found that the evidence established beyond a reasonable doubt that Defendant

 knowingly and willingly induced and paid Medicare beneficiaries to enroll in home health care or

 see a physician and that these services were billed to Medicare but never rendered. In short, there

 was sufficient evidence for the trier of fact to find that Defendant had joined in the overall

 conspiracy to commit health care fraud at All American and Patient Choice.

        B.      Variance

        Second, Defendant argues that there was a variance from the evidence presented and what

 was charged in the indictment. “A variance to the indictment occurs when the charging terms of the

 indictment are unchanged, but the evidence at trial proves facts materially different from those

 alleged in the indictment.” United States v. Caver, 470 F.3d 220, 235 (6th Cir. 2006); see United


                                                   3
Case 2:10-cr-20014-DPH-VMM ECF No. 569, PageID.2382 Filed 04/23/13 Page 4 of 5




 States v. Blackwell, 459 F.3d 739, 762 (6th Cir. 2006) (“A variance occurs when an indictment

 alleges one large conspiracy but the evidence at trial establishes multiple conspiracies.”). Reversal

 of a conviction due to a variance requires the defendant to prove: (1) a demonstrated variance, and

 (2) that the variance affected a substantial right of the defendant. United States v. Budd, 496 F.3d

 517, 521–22 (6th Cir. 2007). The substantial rights of a defendant are affected if the defendant was

 convicted based on a conspiracy in which he did not participate. Blackwell, 459 F.3d at 762.

           Defendant argues that the evidence presented at trial demonstrated the existence of separate

 conspiracies that were connected by Shahab as the common link. To this effect, Defendant urges

 that the Court find the present matter similar to Kotteakos v. United States, 328 U.S. 750, 765

 (1946).

           The Court finds that the facts presented here do not necessitate the same result. Kotteakos

 involved multiple conspiracies that were connected by one common broker; however, the separate

 defendants had no knowledge of or connection to one another outside of the one common broker.

 Id. at 754. In effect, the conspiracies charged in Kotteakos represented spokes of a wheel connected

 by one common broker at the center, but without a rim connecting the individual conspiracies. Id.

 at 755. Here, the evidence does not deviate from the acts charged in the indictment. Defendant was

 charged with offering beneficiaries money in exchange for documents that would allow services to

 be billed to Medicare that were never rendered and that Defendant received payment for his

 recruiting efforts. Unlike the conspiracy in Kotteakos, the evidence demonstrated the connection

 of individual conspirators and agreements by a rim. Recruiters like Defendant knew of and had

 contact with other co-conspirators. Shahab was not simply a common link, but rather the

 mastermind of the fraudulent activity at Patient Choice and All American. As shown in the


                                                    4
Case 2:10-cr-20014-DPH-VMM ECF No. 569, PageID.2383 Filed 04/23/13 Page 5 of 5




 previously listed testimony, the Government showed that Defendant was aware of the overall

 conspiracy between Shahab and others and had agreed to participate in the overall conspiracy. The

 Court finds that there was no variance between the evidence presented at trial and the indictment.



                                                   III.

         In conclusion, the Court finds that Defendant has not satisfied his burden of showing that he

 is entitled to acquittal or, in the alternative, a new trial. Accordingly,

         IT IS ORDERED that Defendant’s Motion for Judgment of Acquittal or the Alternative , for

 a New Trial [Docket No. 524, filed November 16, 2012] is DENIED.

         IT IS FURTHER ORDERED that Defendant’s Rule 29 Motion [Docket No. 530, filed

 November 29, 2012] is DENIED.



                                 S/Denise Page Hood
                                 Denise Page Hood
                                 United States District Judge

 Dated: April 23, 2013

 I hereby certify that a copy of the foregoing document was served upon counsel of record on April
 23, 2013, by electronic and/or ordinary mail.

                                 S/LaShawn R. Saulsberry
                                 Case Manager




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